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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOMONIC McCARNS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               NO. CR. S-08-0093-FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               TO CONTINUE THE STATUS
          v.                        )               CONFERENCE TO THURSDAY
12                                  )               FEBRUARY 10, 2011
     CHARLES HEAD, et al.,          )
13                                  )
                                    )
14        DEFENDANTS.               )
     ______________________________ )
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorney, Mr. Matthew C. Stegman and the defendants
18   (hereinafter referred to as the defendants): 1-Charles Head, represented by attorney,
19   Mr. Scott L. Tedmon; 2-Jeremy Head, represented by attorney, Mr. Christopher
20   Haydn-Myer; 3- Leonard Bernot, represented by attorney, Mr. Bruce Locke; 4- Joshua
21   Coffman, represented by attorney Mr. John P. Balazs; 5- John Corcoran, represented
22   by attorney, Mr. Matthew C. Bockmon; 6- Sarah Mattson, represented by attorney,
23   Mr. Joseph J. Wiseman; 7- Omar Sandoval, represented by attorney, Mr. Michael B.
24   Bigelow; 8- Xochitl Sandoval, represented by attorney, Ms. Candace A. Fry; 9- Kou
25   Yang, represented by attorney, Mr. Joseph Low, IV; and 10-Domonic McCarns,
26   represented by attorney, Mr. James R. Greiner, hereby agree and stipulate that the
27   current date for the status conference currently set for, Monday, January 24, 2011, is
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 1   hereby vacated and can be rescheduled for Thursday, February 10, 2011, at 10:00
 2   a.m. before the Honorable District Court Judge, Kimberly J. Mueller, courtroom #3,
 3   15th Floor.
 4         Further, all of the parties, the United States of America and all of the defendants
 5   as stated above, hereby agree and stipulate that time under the speedy trial Act can be
 6   excluded under Title 18 section 3161(h)(7)(B)(ii) corresponding to Local code T-2
 7   (the complexity of the case) and counsel for all parties stipulate that the ends of justice
 8   are served by the Court excluding such time, so that counsel for each defendant may
 9   have reasonable time necessary for effective preparation, taking into account the
10   exercise of due diligence, 18U.S.C. section 3161(h)(7)(B)(iv), and therefore time
11   should be excluded under 18 U.S.C. section 3161(h)(7)(A) and Local Code T-4 (to
12   allow defense counsel reasonable time to prepare and continuity of counsel).
13         The government has produced over 290,000 pages of discovery to defense
14   counsel. In addition, the government has recently produced discovery which were
15   clones from five hard drives seized from various business locations which was put on
16   an external hard drive in the amount of approximately 68.2 GB, which defense
17   counsel need time to review and review with their respective clients. All defense
18   counsel are in the process of reviewing this material, meeting with their respective
19   clients and going over the discovery with their clients. All defense counsel need
20   additional time to continue that process. In addition, all defense counsel need
21   additional time as they research to identify potential legal issues.
22
           The parties agree and stipulate that, the interest of justice in granting this
23
     reasonable request for a continuance outweighs all other interests in this case for a
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     speedy trial in this case, pursuant to Title 18 section 3161(h)(7)(B)(ii) corresponding
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     to Local code T-2 (the complexity of the case) and counsel for all parties stipulate
26
     that the ends of justice are served by the Court excluding such time, so that counsel
27
28                                                2
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 1   for each defendant may have reasonable time necessary for effective preparation,
 2   taking into account the exercise of due diligence, 18U.S.C. section 3161(h)(7)(B)(iv),
 3   and therefore time should be excluded under 18 U.S.C. section 3161(h)(7)(A) and
 4   Local Code T-4 (to allow defense counsel reasonable time to prepare and continuity
 5   of counsel).
 6         The Court’s Courtroom deputy, Ms. Casey Schultz, was contacted to ensure the
 7   Court was available on Thursday, February 10, 2011, and the Court is available.
 8
     Respectfully submitted:
 9
                                     BENJAMIN B. WAGNER
10
                                     UNITED STATES ATTORNEY
11
12                                   /s/ Matthew Stegman by e mail authorization

13   DATED: 2-1-11                   _____________________________________
14                                   Matthew Stegman
                                     ASSISTANT UNITED STATES ATTORNEY
15
                                     ATTORNEY FOR THE PLAINTIFF
16
17   DATED: 2-1-11
                                     /s/ Scott Tedmon by e mail authorization
18                                   ______________________________________
19                                   Scott Tedmon
                                     Attorney for Defendant Charles Head
20
21   DATED: 2-1-11                   /s/ Christopher Hayden-Myer by e mail authorization
22                                   _______________________________________
                                     Christopher Hayden-Myer
23                                   Attorney for Defendant Jeremy Head
24
     DATED: 2-1-11                   /s/ Bruce Locke by e mail authorization
25
                                     _____________________________________
26                                   Bruce Locke
27                                   Attorney for Defendant Leonard Bernot

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 1   DATED: 2-1-11               /s/ John Balazs by e mail authorization
 2
                                 ______________________________________
                                 John Balazs
 3                               Attorney for Defendant Joshua Coffman
 4
     DATED: 2-1-11               /s/ Matthew Bockmon by e mail authorization
 5
                                 ______________________________________
 6                               Matthew Bockmon
 7
                                 Attorney for Defendant John Corcoran

 8   DATED: 2-1-11               /s/ Joseph Wiseman by e mail authorization
 9                               ____________________________________
                                 Joseph Wiseman
10
                                 Attorney for Defendant Sarah Mattson
11
     DATED: 2-1-11               /s/Michael Bigelow by e mail authorization
12
                                 ________________________________________
13                               Michael Bigelow
14                               Attorney for Defendant Omar Sandoval
15   DATED: 2-1-11               /s/ Candace Fry by e mail authorization
16                               ______________________________________
                                 Candace Fry
17
                                 Attorney for Defendant Xochitl Sandoval
18
19   DATED: 2-1-11               /s/ Joseph Low, IV by e mail authorization
                                 ______________________________________
20                               Joseph Low, IV
21                               Attorney for Defendant Kou Yang
22
     DATED: 2-1-11               /s/ James R. Greiner
23                               ___________________________________
24                               James R. Greiner
                                 Attorney for Defendant Dominic McCarns
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 1                                            ORDER
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 3         Based upon the representations of counsel, the record in this case, and the
 4   agreements and stipulations between counsel in the case, and that
 5
           The parties agree and stipulate that this Court can make the appropriate findings
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     supported by the record in this case that this case is complex pursuant to the Speedy
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     Trial Act, Title 18 U.S.C. section 3161(h)(7)(B)(ii) and local code T-2, which allows
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     the Court to make the finding that this case is so unusual or so complex, due to the
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     nature of the prosecution, and/or the existence of novel questions of fact or law,
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     and/or, the existence of the amount of discovery (over 290,00 pages of discovery
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     previously discovered by the government and recently discovered approximately 68.2
12
     GB on an external hard drive of discovery), that it is unreasonable to expect adequate
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     preparation for pretrial proceedings or the trial itself within the time limits established
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     by the Speedy Trial Act. In addition, the Court can make a finding from the record in
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     this case, that time shall also be excluded under local code T-4, that time is to be
16
     excluded for the reasonable time necessary for effective preparation by defense
17
     counsel, continuity of defense counsel and Title 18 U.S.C. section 3161(h)(7)(B)(iv)
18
     and therefore time should be excluded under 18 U.S.C. section 3161(h)(7)(A), of the
19
     speedy trial act.
20
           The Status Conference currently set for Monday, January 24, 2011, is
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     vacated, and the new Status Conference is set for Thursday, February 10, 2011, in
22
     front of District Court Judge Kimberly J. Mueller, Courtroom #3, 15th floor,
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     with time excluded under the Speedy Trial Act from Monday, January 24, 2011,
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     through to and including Thursday, February 10, 2011, for the reasons agreed to
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     and stipulated by the parties and as stated herein.
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 1        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 3
     DATED: February 2, 2011
 4                                    _______________________________________
 5                                    FRANK C. DAMRELL, JR.
                                      UNITED STATES DISTRICT JUDGE
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